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MICHAEL MOORE,
P]aintiff,

_050 1301

JUDGE GRADY

v. Nn
OFFICER COREY A. FLAGG,
Star #9386,0THER UNKNDWN
CHICAGD POLICE OFFICERS, and the
CITY OF CHICAGO,

Defendants.

,]ury Demand MAE|STHATE JUDGE NDLA.N

 

 

C()MPLAINT

COUNT I
,! L!RISDICTION AND VENUE
l. 'l`his Court has jurisdiction based on 28 U.S.C. §§1331 and 1343(a) because the
case raises federal constitutional issues.
2. The Court has supplementary jurisdiction over substantially related state claims

based ou 28 U.S.C. 1367(a).

3. Tbis is an appropriate venue because all ot`tbe alleged acts occurred Witliin the
Nortbern District of Illinois and all of the parties reside within the Northcrn District of
lllinois.

4. This action is brought pursuant to 42 U.S.C. §1983 for Violations of Plaintif`t*s

constitutional rights under the Fourth Arnendment as incorporated and applied to state

 

 

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governments through the Fourteenth Amendment to the United States Constitution.
PARTIE§

5 . Plaintiff is a citizen of the United States and is a resident of Chieago, Illinois.

6. Defendants, Ol`ficer Flagg and other unknown Chicago police officers, were on
duty and acting under color of state law at all times relevant to this Complaint.

7. The City of Chicago is a municipality organized under the laws of the State of
Illinois and the employer of Officer Flagg and other unknown Chicago police officers

THE FACTUAL BASIS VIOLATION

3. On or about Oetober 21, 2003, Plaintiff was at his residence at 683'7 S. Indiana
in Chicago, IL.

9. Thc building at 6837 S. Indiana is a two flat owned by the Plainti[`l`, who resides
on the second floor.

`10. Gfticer Flagg and other unknown Chicago police officers forced their way into
the vestibule of the building at 683’7 S. Indiana, Chicago, lL.

ll. Defendants had not witnessed Plaintiff violate any city, county, state, and/or
federal law.

12. Defendants had a search warrant for “Boo,"’ a male black_, 19-23 years old_,
5'8" - 5'10" and 150 lbs, and for the second floor of Plaintil`f’s residence

13. Plaintiff is a male black who was 53 years old on October 21, 2001

14. Defendants did not have an arrest warrant for the Plaintiff.

15. Dcfcndants did not have consent to search the Plaintiff.

 

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`16. The Defendants searched the Plaintif`f`.

l7. The Defendants did not have probable cause to search or arrest the l*laintiff.

18. Defendant Flagg claimed to have found narcotics in Plaintist residence.

19. The l’laintiff did not resist, disobey, or obstruct the defendants during their
illegal search and arrest of the Plaintif`l`.

2(). The Defendants charged the Plaintiff with illegal possession of narcotics,
Case No. 03 CR 251560l.

21. The Plaintif`f spent 52 days in custody on Casc No. 03 CR 25156(]1 before
bonding out on a $25,000 “D” bond.

22. On August 3, 2004, Plainti.ff was found not guilty of all of the charges in Case
No. 03 CR. 2515601.

23. The Plaintil`l` has never been convicted of any criminal offense.
Wl-IEREFORE, Plaintiffprays this Court will award him actual and punitive
damages as well as costs and reasonable attorney fees against the Defendants for his false

arrest.
COUNT II - §TATE MALICIDUS PROSECUTION
1-23. Plaintiff re-alleges paragraphs 1-23 ofCount I as paragraphs `1-23 of Count
ll.
24. Defendant C)fficer Flagg and other unknown Chicago police officers wrote

false and misleading police reports regarding the arrest of plaintiff on October 21, 2003.

 

 

 

 

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25. Defendants knew their false police reports would be relied on by superior
officers and Assistant State’s Attorneys to determine charges against the plaintiff.

26. Based on thc defendants’ false reports, plaintiff was charged under case
number 03 CR 25 l 5601.

27. On August 3, 2004, case number 03 CR\ 251 5601 was disposed of in favor of
the plaintiff.

WHEREFORE, Plaintiff prays this Court will award him actual and punitive
damages as well as costs and reasonable attorney fees against the Defendants for his false

arrest.

COUNT 111 - STATUTORY INDEMNIFIQATION

1-27. Plaintiff re-alleges paragraphs 1-27 of Count ll as paragraphs 1-27 ofCount

111.

28. At all relevant times, 745 lLCS 10/9-102 was in full force and effect.

29. The Defendant officers were acting under color of state law and as employees
of the City ofChicago.

 

 

 

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WH_EREFGRE, Plaintiff prays the Court will award hint actual damages and costs
against the City of Chicago.

Respectfully Submitted

'YZWM

THoMAs PETEas
KEVIN PE'I`ERS

Attomeys for Plaintiff

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